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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  JONESBORO DIVISION

TURNING POINT USA AT ARKANSAS
STATE UNIVERSITY; et al.                                                                   PLAINTIFFS

v.                                  Case No. 3:17CV00327 - JLH

RON RHODES; et al.                                                                      DEFENDANTS

                                    FINAL SCHEDULING ORDER

        Pursuant to Rule 16(e) of the Federal Rules of Civil Procedure, IT IS HEREBY ORDERED:

1.   TRIAL DATE

This case is scheduled for JURY TRIAL before Judge J. Leon Holmes commencing at 9:15 a.m. sometime
during the week of March 4, 2019, in Courtroom #324, in Jonesboro, Arkansas. If counsel wish to bring
electronic devices to the courthouse for any proceeding, please note Amended General Order No. 54.

2.   DISCOVERY

Discovery should be completed no later than December 20, 2018. The parties may conduct discovery
beyond this date if all parties are in agreement to do so; but the Court will not resolve any disputes in the
course of this extended discovery. All discovery requests and motions must be filed sufficiently in advance
of that date to allow for a timely response. Witnesses and exhibits not identified in response to appropriate
discovery may not be used at trial except in extraordinary circumstances. The Court will not grant a
continuance because a party does not have time in which to depose a witness, expert or otherwise.
Before presenting a discovery dispute to the Court, counsel must confer with opposing counsel in a good
faith effort to resolve the dispute. “Confer” means to have a conference, to talk with, to discuss: writing a
letter or sending an email does not suffice.

If the parties cannot resolve a discovery dispute despite conferring in good faith, the dispute may be
presented to the Court by motion pursuant to Fed. R. Civ. P. 37 or by letter to the Court, which may be sent
by facsimile or email. If the party seeking discovery presents the issue to the Court by letter, the opposing
party may respond by letter to the Court within twenty-four (24) hours. If the party seeking discovery files
a motion pursuant to Rule 37, the opposing party may respond within seven (7) days. If a hearing is needed,
the Court will schedule one to be conducted by telephone or in person as soon as possible.
3.   ADDITION OF PARTIES/AMENDMENT OF PLEADINGS
Leave to add parties or amend pleadings must be sought no later than August 1, 2018.

4.   STATUS REPORT

A status report must be filed with the Clerk’s office on or before January 3, 2019. The report must include
the date and results of any settlement conference, the settlement prospects, and an estimate of the length of
trial.

5.   MOTION DEADLINE

Motions for summary judgment, and all motions, except motions in limine, must be filed on or before
January 3, 2019. Motions for summary judgment must comply with Fed. R. Civ. P. 56 and Local Rules
7.2 and 56.1. Motions in limine must be filed on or before February 19, 2019 and responses must be filed
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seven (7) days thereafter. Daubert motions must be filed on or before January 3, 2019. Motions submitted
after the deadline may be denied solely on that ground.

Local Rule 7.2(b) provides: “Within fourteen (14) days from the date copies of a motion and supporting
papers have been served upon him, any party opposing a motion shall serve and file with the Clerk a concise
statement in opposition to the motion with supporting authorities.” Any reply to a response to a motion
must be filed within seven (7) days of service of the response. The Court may or may not wait on the filing
of a reply before ruling on the motion. Summary judgment motions, as well as other motions, will be subject
to the times stated in this paragraph.

6.   PRETRIAL DISCLOSURE SHEET [FED.R.CIV.P. 26(a)(3)]

Pretrial disclosure sheets must be filed simultaneously by the parties according to the outline contained in
Local Rule 26.2 with copies to the Courtroom Deputy, Cory Wilkins, and opposing counsel no later than
February 11, 2019. That witnesses and exhibits must be listed on the pretrial information sheet does not
relieve a party of the obligation to provide the names of witnesses and exhibits in response to discovery
requests.

7.   DEPOSITIONS TO BE USED AT TRIAL OTHER THAN FOR IMPEACHMENT

The proffering party must designate the pertinent portions of a deposition to be used as evidence at trial by
February 12, 2019. Counter-designations must be made by February 22, 2019. These designations need
not be filed with the Court but should be exchanged by the parties. Objections to any deposition or
videotapes that will be used at trial must be made by written motion indicating the specific objection and
its legal basis by February 25, 2019, with the response due March 1, 2019. Depositions to be read at trial
must be marked as exhibits.

8.   JURY INSTRUCTIONS AND STATEMENT OF CASE

The parties must confer regarding the proposed instructions in an attempt to narrow areas of disagreement
and must submit an AGREED set of instructions on specific issues in the case to the Court on or before
February 22, 2019. Standard instructions from AMI, Eighth Circuit or Federal Jury Practice and
Instructions (5th Edition), as applicable, should be used whenever possible and should be noted at the end
of each instruction. NOTE: DO NOT include the standard opening and closing instructions. A party
requesting an instruction that cannot be agreed upon must submit that instruction to the Court and to
opposing counsel, setting out the disagreement by the same date. Instructions may be submitted in
WordPerfect format electronically to jlhchambers@ared.uscourts.gov.

Each party must submit to the Court by that same date a concise statement of the case, no more than one
page in length, that it proposes would be proper to read to the panel of venire persons during voir dire, and
also any proposed voir dire questions it wishes the Court to pose to the panel.

9.   STIPULATIONS

The parties should stipulate in writing to the facts not in controversy seven (7) days before the trial date.

10. INTRODUCTION OF EXHIBITS

All exhibits must be listed on the enclosed form in numerical sequence. Exhibits must be made available
to all parties and reviewed by counsel prior to the trial date. The lists must be submitted to the Courtroom
Deputy thirty (30) minutes before the beginning of trial, with notations made on the Court’s copy noting
exhibits to which there is an objection. The Court will receive all stipulated exhibits at the beginning of the
trial.
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11.     CONFLICTS OF INTEREST

Counsel must promptly check the Court’s list of financial interests on file in the U.S. District Clerk’s Office
to determine whether there is any conflict that might require recusal. If any party is a subsidiary or affiliate
of any company in which the Court has a financial interest, bring that fact to the Court’s attention
immediately.

Please communicate with Cory Wilkins, Courtroom Deputy, at 501-604-5384 to ascertain your position on
the calendar as the trial date approaches. In the event of settlement, advise Mr. Wilkins immediately. The
case will not be removed from the trial docket until an order of dismissal has been entered.

Dated: Thursday, April 26, 2018

                                                              AT THE DIRECTION OF THE COURT
                                                              JAMES W. McCORMACK, CLERK



                                                              By: /s/ Cory Wilkins
                                                                 Courtroom Deputy
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                                     MEMORANDUM


TO:            Lawyers

FROM:          Judge Holmes

RE:            Guidelines for Jury Trials


Please keep in mind the following:

1. In cases where there is a jury demand, twelve (12) jurors will be impaneled. Parties will
   stipulate to trying case to conclusion to juries surviving down to six (6) jurors.

2. Be prepared, during the court portion of the voir dire, to stand and call out the names of each
   of your witnesses, as well as your client(s) or representative of your party.

3. Lawyers will be permitted to voir dire the jury with these guidelines:

   a.      Ask questions of the entire panel, unless there is a reasonable ground for singling out
           an individual juror.

   b.      Do not use voir dire to argue the case or commit the jury to your theory of the case.

   c.      If you want to challenge a juror during voir dire, please feel free to request a bench
           conference to make the challenge.

   d.      If there are questions you would prefer that the Court ask, please advise.

   e.      Batson challenges: party whose strike is overruled by Batson challenge will be given
           another strike.

4. Objections and motions in front of the jury should be spare and to the legal point.

5. Speaking objections and sidebar comments are inappropriate.

6. Please stand when you speak.

7. Do not “submit” a witness as an expert. When you think you have established a witness’s
   qualifications, start your substantive questions. Opposing counsel can object, or ask to take
   the witness on voir dire regarding qualifications.
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8. The federal rules of procedure restrict the publication of certain personal data in documents
filed with the court. The rules require limiting Social Security, taxpayer identification, and
financial account numbers to the last four digits; using only initials for names of minor children;
and limiting dates of birth to the year.

However, if such information is elicited during testimony or other court proceedings, it will
become available to the public when the official transcript is filed at the courthouse unless, and
until, it is redacted. The better practice is for you to avoid introducing this information into the
record in the first place. Please take this into account when questioning witnesses or making other
statements in court.

9. Jury Instructions:

    a.      Instructions proposed by each party prior to trial, pursuant to the Court’s Scheduling
    Order, are considered by the Court in formulating the Court’s own set of Proposed Instructions,
    but are not considered proffered instructions which become part of the record.

    b.     Prior to the on-the-record instruction conference with me, the law clerk assigned to the
    case may review the Court’s proposed set of instructions with lawyers for both parties.
    Lawyers may relate any objections or requests for modifications or additional instructions to
    the law clerk at this time in attempting to work out any problems prior to the final instruction
    conference; however, lawyers are responsible for making objections and proffering any
    changes or additional instructions that they wish to become a part of the record during the on-
    the-record instruction conference.

    c.      In all civil cases, Court will instruct before arguments.

10. Stipulate to all exhibits about which there is no dispute and which exhibits can be used during
    opening statements.

11. Arrange for appearance of witnesses so that it will not be necessary to adjourn before 5:00 p.m.
    for lack of available witnesses.
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                               IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF ARKANSAS


       _______________________________________
          PLAINTIFF

            v.                                      Case No. 3:17CV00327 - JLH

       _______________________________________
          DEFENDANT




                                WITNESS LIST FOR _______________________
                                                         Plaintiff/ Defendant

Date   Witness   Witnes Name                    Direct   Cross       Redirect   Recross     Further     Further
       No.                                                                                  Redirect    Recross




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                                  IN THE UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF ARKANSAS


        _______________________________________                             ____________EXHIBIT LIST
            PLAINTIFF

                v.

        _______________________________________                             Case No. 3:17CV00327 - JLH
            DEFENDANT



        PRESIDING JUDGE                           PLAINTIFF’S ATTORNEY           DEFENDANT’S ATTORNEY

        HON. J. LEON HOLMES
        TRIAL DATE(S)                             COURT REPORTER                 COURTROOM DEPUTY

                                                  GENIE POWER                    CORY WILKINS


         ****************************************************************************
Pltf.   Deft.        Date      Object.   Stip.   Received                DESCRIPTION OF EXHIBITS
No.     No.          Offered




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